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                             IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA

DEBORAH LAUFER,                                    )
                                                   )
Plaintiff,                                         )
                                                   )   CIVIL ACTION NO. 2:20-cv-103
v.                                                 )
                                                   )
TRIPLE W HOSPITALITY LLC and                       )
DEVELOPMENT AUTHORITY OF                           )
APPLING COUNTY,                                    )   JURY TRIAL DEMANDED
                                                   )
Defendants.                                        )

              DEFENDANTS’ BRIEF IN SUPPORT OF ITS MOTION TO DISMISS

           COME NOW Defendants Triple W Hospitality LLC and the Development

Authority of Appling County (“Defendants”), by and through the undersigned counsel

and pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal Rules of Civil Procedure,

and hereby files this Brief in Support of Defendants’ Motion to Dismiss, respectfully

showing the Court as follows:

                          FACTUAL AND PROCEDURAL BACKGROUND

           Plaintiff Deborah Laufer (“Laufer”) is a resident of Pasco County, Florida and a

disabled person under the Americans with Disabilities Act (“ADA”) as she requires a

wheelchair and or cane to ambulate.1 Laufer is a self-admitted “tester” for the purpose

of ensuring that places of public accommodation comply with the ADA.2

           The Development Authority of Appling County (“DAAC”) is a county entity

responsible for the recruitment of new businesses to Appling County and offers

assistance with major economic development projects. DAAC owns the real property

located at 417 West Parker Street, Baxley, Georgia 31513 (the “Hotel”) which is known

1
    Plaintiff’s Complaint, ¶ 1 (Sept. 30, 2020).
2
    Id. at § 2.
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to be the Sleep Inn by virtue of a revenue bond. The Hotel is a Choice Hotels

International (“Choice Hotels”) branded property which provides lodging throughout the

United States and internationally. Triple W is a limited liability company authorized to do

business in the State of Georgia which operates, manages, and oversees the Hotel.

       On September 30, 2020, Laufer filed her Complaint and Demand for Injunctive

Relief (the “Complaint”) against Defendants seeking declaratory and injunctive relief,

along with attorneys’ fees, damages, costs, and other expenses, for alleged violations of

the ADA. Laufer alleges that prior to the filing of her Complaint, she visited various third-

party websites3 (the “Websites”) which she alleges are “implemented, operat[ed],

control[ed] and or maintain[ed]” by Defendants “for the purpose of reviewing and

assessing the accessible features at the [Hotel] and ascertain whether [the Websites]

meet the requirements of 28 C.F.R. § 36.302(e) and her accessibility needs.”4 Laufer

alleges that the Websites are not compliant with § 36.302(e)(1) and as such

discriminated against her by denying her equal access and enjoyment of the services

offered by the Hotel.5 Laufer alleges that the Websites’ lack of information infringes on

her “right to travel” and “deprive[s] her of the information required to make meaningful

travel choices.”6

       The Americans with Disabilities Act is one of the most comprehensive pieces of

civil rights legislation passed by Congress to date. Signed into law in 1990 by President

George H. W. Bush, the ADA was designed to “provide a clear and comprehensive

national mandate for the elimination of discrimination against individuals with

3
   Plaintiff’s Complaint, ¶ 10(a)-(h)(stating that Laufer visited booking.com, agoda.com, hotels.com,
trip.com, cheaptickets.com, travelocity.com, reservations.com, and hotels.bookety.com).
4
  Id. at ¶ 10.
5
  Id. at ¶ 16.
6
  Id. at ¶ 12.


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disabilities.”7 The ADA’s virtuous purpose has been subjugated by personal injury

attorneys who have manipulated the law into a way to make money at the expense of

small businesses. As one California District Court explained:

        “[t]he scheme is simple: an unscrupulous law firm sends a disabled
        individual to as many businesses as possible, in order to have him
        aggressively seek out any and all violations of the ADA. Then, rather than
        simply informing [the] business of the violations, and attempting to remedy
        the matter through conciliation and voluntarily compliance, a lawsuit is
        filed, requesting damage awards that would put many of the targeted
        establishments out of business. Faced with the specter of costly litigation
        and a potentially fatal judgment against them, most businesses quickly
        settle the matter.”8

        Laufer’s pursuit in this action is no different than that of the plaintiff in Molski

except instead of visiting actual businesses, Laufer wreaks havoc on small businesses

from the comfort of her home. This case is one of 518 other cases9 filed by Laufer in the

last several months across the United States and one of almost two thousand cases

filed by the firm which represents her, Thomas B. Bacon, P.C. (“Bacon”).10 This type of

behavior resulted in the Molski court sanctioning a “professional plaintiff” and his lawyer

for filing ADA lawsuits for “their own financial gain and not the elimination of

discrimination against individuals with disabilities.”11

        The pervasive problem of ADA lawsuits plaguing the judicial system is real and is

driven not by discrimination, “but by economics—that is, the economics of attorney’s

fees.”12 As such, Defendants respectfully request that this Court dismiss the Complaint


7
  42 U.S.C. § 12182(a).
8
   Molski v. Mandarin Touch Rest., 347 F. Supp. 2d 860 (C.D. Cal. 2004), aff'd in part, dismissed in part
sub nom. Molski v. Evergreen Dynasty Corp., 500 F.3d 1047 (9th Cir. 2007)(internal citations omitted).
9
  See attached Exhibit A for a list of the cases filed by Plaintiff Deborah Laufer.
10
   See attached as Exhibit B for a list of all cases in which Thomas B. Bacon is attorney of record. These
cases were limited by ADA cases filed in which Bacon was listed as counsel of record using the PACER
case locator.
11
   Molski at 861.
12
   Rodriguez v. Investco, LLC, 305 F.Supp.2d 1278, 1282 (M.D. Fla. 2004).


                                                    3
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filed by Laufer in this action for three reasons (1) the Complaint fails to state a claim

upon which relief can be granted, (2) the Complaint fails to allege that Laufer has

suffered an injury-in-fact, and (3) the Complaint fails to allege that Laufer faces any real

and immediate threat of future injury.

         CITATION TO AUTHORITY AND APPLICABLE LEGAL STANDARDS

     A. The ADA

        The ADA covers three main types of discrimination. Title I prohibits discrimination

in private employment; Title II prohibits discrimination by public entities (state and local

governments); and Title III prohibits discrimination by a “place of accommodation,”

which is a private entity that offers commercial services to the public.13 Inns, hotels,

motels, and other places of lodging are considered places of public accommodation for

the purpose of the ADA.14

        “Discrimination” is defined by the ADA as

        “the failure to make reasonable modifications in polices, practices, or
        procedures…necessary to afford such goods, services, facilities,
        privileges, advantages, or accommodations to individual with disabilities”
        and “a failure to take such steps as may be necessary to ensure that no
        individual with a disability is excluded, denied services, segregated, or
        otherwise treated differently…because of the absence of auxiliar aids and
        services.”15

        However, “places of public accommodations” within the meaning of the Title III

are not limited to physical structures.16 As such, Title III covers both tangible barriers

that would prevent a disabled person from entering an accommodation’s facilities and




13
   A.L. by & through D.L. v. Walt Disney Parks & Resorts US, Inc., 900 F.3d 1270, 1288 (11th Cir. 2018).
14
   42 U.S.C. § 12181
15
   Id. § 12182(b)(2)(A)(ii)-(iii)
16
   Rendon v. Valleycrest Prods., Ltd., 294 F.3d 1279 (11th Cir. 2002).


                                                    4
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accessing its goods and services as well as intangible barriers which restrict a person’s

ability to enjoy the defendant’s goods, services, and privileges.17

        Places of lodging covered by Title III must ensure that all reservations, no matter

by what manner they are made, are compliant with Title III and do not discriminate

against disabled persons. 28 C.F.R. § 36.302(e)(1) (the “Requirements”) sets forth the

requirements for places of lodging regarding reservations:

        (i) Modify its policies, practices, or procedures to ensure that individuals with
            disabilities can make reservations for accessible guest rooms during the
            same hours and in the same manner as individuals who do not need
            accessible rooms;

        (ii) Identify and describe accessible features in the hotels and guest rooms
             offered through its reservations service in enough detail to reasonably permit
             individuals with disabilities to assess independently whether a given hotel or
             guest room meets his or her accessibility needs;

        (iii) Ensure that accessible guest rooms are held for use by individuals with
              disabilities until all other guest rooms of that type have been rented and the
              accessible room requested is the only remaining room of that type;
        (iv) Reserve, upon request, accessible guest rooms or specific types of guest
              rooms and ensure that the guest rooms requested are blocked and removed
              from all reservations systems; and

        (v) Guarantee that the specific accessible guest room reserved through its
            reservations service is held for the reserving customer, regardless of whether
            a specific room is held in response to reservations made by others.18

        Thus, to prevail on a Title III ADA discrimination claim, a plaintiff must sufficiently

demonstrate that: (1) he or she is a disabled individual; (2) defendant owns, leases, or

operates a place of public accommodation; and (3) defendant has discriminated against

the plaintiff on the basis of the disability within the meaning of the ADA.19




17
   Id., but see also 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12182(b)(2)(A)(i)-(ii)
18
   28 C.F.R § 36.302(e)(1)(i)-(v)
19
   Norkunas at 416.


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     B. Rule 12(b)(6) Motion to Dismiss

        To withstand a Rule 12(b)(6) motion to dismiss, a plaintiff must plead facts

sufficient to state a claim that is “plausible on its face.”20 A court’s review of the

sufficiency of the Complaint is limited to the allegations presented in the Complaint.21

Factual allegations in the Complaint are accepted as true and all reasonable inferences

are drawn in the plaintiff’s favor.22 Detailed factual allegations are not required, but the

allegations must consist of more than a “formulaic recitation of the elements of a cause

of action.”23

     C. Standing for Injunctive Relief

        Article III of the United States Constitution limits the jurisdiction of federal courts

to hear actual cases or controversies.24 Accordingly, the Court must first assure itself

that a litigant has standing to bring an action, including one for injunctive relief.25

Motions to dismiss based on lack of standing attack the Court’s subject matter

jurisdiction and are therefore considered under F.R.C.P. 12(b)(1).

        To establish standing, a plaintiff must show that she has suffered: “(1) an injury in

fact, (2) a causal connection between the injury and the conduct complained of, and (3)

that the injury will be redressed by a favorable decision.”26 Further, because injunctions

regulate future conduct, a plaintiff has standing to seek injunctive relief only if the party



20
   Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)(quoting Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 570 (2007)).
21
   GSW, Inc. v. Long Cty., Ga., 999 F.2d 1508 (11th Cir. 1993).
22
    Speaker v. U.S. Dep't of Health & Human Servs. Ctrs. for Disease Control & Prevention, 623 F.3d
1371, 1379 (11th Cir. 2010); see also Roberts v. Fla. Power & Light Co., 146 F.3d 1305, 1307 (11th Cir.
1998).
23
   Twombly, 550 U.S. at 555.
24
   Norkunas v. Seahorse NB, LLC, 444 Fed. Appx. 412 (11th Cir. 2011).
25
   Id. at 415.
26
   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130 (1992).


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alleges a real and immediate threat of future injury which is not conjectural or

hypothetical.27

     D. Patricia Kennedy v. Siesta Inn & Suites, Inc.

        In an almost identical set of facts to the case at hand, another self-admitted

“tester” represented by Bacon filed suit against the Siesta Inn & Suites (“Siesta”) in

Sarasota, Florida alleging that the hotel’s reservation website and other third-party

websites were not compliant with the requirements set forth in 28 C.F.R. § 36.302(e).

Kennedy alleged that Siesta’s website as well as third-party websites did not provide

sufficient information to determine whether or not the Siesta’s hotel rooms met her

accessibility needs.28 Siesta filed a Rule 12(b)(1) motion to dismiss, attaching

photographs from its website to demonstrate that it was in compliance with 28 C.F.R. §

36.302(e) and asserted that Kennedy’s claims were moot.29 Kennedy then booked a

room at the Siesta advertised as ADA accessible using Siesta’s website and then filed

an affidavit in response to Siesta’s motion to dismiss representing the inadequacies of

its accessible rooms.30 The Eleventh Circuit reversed the trial court’s dismissal of

Kennedy’s complaint on multiple grounds, but specifically held that places of public

accommodation such as the Siesta have a duty to provide “third-party services with

information concerning these accessible features of the hotel and the accessible

rooms.”31




27
   Shotz v. Cates, 256 F.3d 1077, 1081 (11th Cir. 2001)(citing Wooden v. Board of Regents of Univ. Sys.,
247 F.3d 1262, 1284 (11th Cir. 2001)).
28
   Kennedy v. Siesta Inn & Suites, Inc., 18-14509, 2020 WL 5820871 (11th Cir. Sept. 30, 2020).
29
   Id.
30
   Id.
31
   See Dep't of Just., Americans with Disabilities Act Title III Regulations, Nondiscrimination on the Basis
of Disability by Public Accommodations and in Commercial Facilities (2010).


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          The Eleventh Circuit went further to say that the continued lack of accurate

information on third-party sites is an actionable claim under the ADA.32 However, the

paragraph immediately preceding the language relied upon by the Eleventh Circuit

states: “To the extent a hotel or other place of lodging makes available such rooms and

information to a third-party reservation provider, but the third party fails to provide the

information or rooms to people with disabilities in accordance with [§ 36.302(e)], the

hotel or other place of lodging will not be responsible.”33 The importance of the

information provided by the DOJ Guidelines is undeniable given the consternation that

currently exists between the District Courts in the Eleventh Circuit but was seemingly

ignored by the Eleventh Circuit in Kennedy.34

                                    ARGUMENT AND ANALYSIS

     I.     Because Plaintiff’s Complaint Fails to State a Claim Upon Which Relief
            Can Be Granted, Defendant’s Motion Should be Granted.

          To establish a prima facie case for ADA discrimination, Laufer must establish

that: (1) she is disabled, (2) the Hotel is a place of public accommodation, and (3) she

was denied full equal treatment of the goods and services offered by the Hotel because

32
   See Dep't of Just., Americans with Disabilities Act Title III Regulations, Nondiscrimination on the Basis
of Disability by Public Accommodations and in Commercial Facilities (2010).
33
   Kennedy at *3.
34
   Compare Kennedy v. Floridian Hotel Inc., No. 1:18-CV-20839-UU, 2018 WL 10601975, at *4-7 (S.D.
Fla. May 15, 2018) (at the summary judgment stage, plaintiff's “vague and conclusory plans” to revisit the
website failed to sufficiently allege future injury); Buchholz v. Aventura Beach Assoc., Ltd., No. 17-23154-
CIV-MORENO, 2018 WL 318476, at *3 (S.D. Fla. Jan. 5, 2018) (generally finding that plaintiff failed to
allege a nexus between the hotel website and the physical property); and Price v. Escalante - Black
Diamond Golf Club LLC, No. 5:19-CV-22-Oc-30PRL, 2019 WL 1905865 (M.D. Fla. Apr. 29, 2019)
(concluding that plaintiff failed to sufficiently allege future injury because he failed to allege a nexus
between the website and the hotel's physical location) with Parks v. Richard, No. 2:20-CV-227-FtM-
38NPM, 2020 WL 2523541, at *2-3 (M.D. Fla. May 18, 2020) (holding that plaintiff sufficiently alleged past
and future injury and thus, had standing); Kennedy v. Sai Ram Hotels LLC, No. 8:19-CV-483-T-3JSS,
2019 WL 2085011 (M.D. Fla. May 1, 2019) (concluding that plaintiff's allegation that she intended to
revisit the website in eight months was sufficient to establish future injury at motion to dismiss stage); and
Honeywell v. Harihar Inc., No. 2:18-CV-618- FtM-29MRM, 2018 WL 6304839 (M.D. Fla. Dec. 3, 2018)
(holding that plaintiff's allegation that she intended to revisit the website was sufficient to establish future
injury at motion to dismiss).


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of her disability.35 Neither Laufer’s status as an individual covered by the ADA nor the

Hotel’s designation as a place of public accommodation is disputed. Laufer alleges that

she was denied full and equal treatment of the goods and services offered by the Hotel

prohibited by § 36.302(3)(1)(i)-(ii). Subsection (i) requires that places of lodging ensure

that individuals with disabilities can make reservations in the same manner as those

without disabilities. Subsection (ii) requires that hotels identify and describe accessible

features in the places of lodging with enough detail to permit individuals with disabilities

to assess whether or not the hotels accessibility features meet the individual’s needs.

Laufer’s Complaint fails to set forth a claim upon which relief can be granted because:

(1) the Defendants are not responsible for the alleged failure of the Websites to comply

with § 36.302(e)(1), and (2) Laufer is unable to demonstrate how she was denied full

equal treatment because of her disability.

       a. Plaintiff’s Complaint Fails to State a Claim Upon Which Relief Can Be
          Granted Because Defendants Are Not Responsible for the Alleged Failure of
          the Websites to Provide Information.

       The requirements outlined in § 36.302(e)(1) apply to reservations made by “any

means, including telephone, in-person, or through a third party.”36 Although this

language seems clear enough, the Department of Justice (the “Department”) published

the Title III Regulations 2010 Guidance and Section-by-Section Analysis (the “DOJ

Guidance”) to clarify a multitude of issues and specifically addressed concerns raised to




35
   Access 4 All, Inc. v. Bamco VI, Inc., 2012 U.S. Dist. LEXIS 1868, 2012 WL 33163, at *2 (S.D. Fla. Jan
6, 2012).
36
   28 C.F.R. § 36.302(e)(1).


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the Department regarding the threat to hotels and similar organizations that may face

liability as a result of parties they are unable to control.37 The Department states:

        “Hotels and other places of lodging that use third-party reservation
        services must make reasonable efforts to make accessible rooms
        available through at least some of these services and must provide these
        third-party services with information concerning the accessible feature of
        the hotel and the accessible rooms.”38

        The Department goes on to say:

        “To the extent a hotel or other place of lodging makes available such
        rooms and information to a third-party reservation provider, but the third
        party fails to provide the information or rooms to people with disabilities in
        accordance with [section § 36.302(e)], the hotel or other place of
        lodging will not be responsible.”39

        All Choice Hotel properties, including the Hotel at issue, utilize choiceEDGE, a

cloud-based global reservation system (“GRS”) which works as a central hub for

reservations, delivering information about Choice Hotel properties in real-time to

Choice.com, mobile apps, and third-party reservation systems. The information

provided by the Hotel is identical to that provided to Choice.com which allows

customers to view and select available accessible rooms as well as view the specific

accessibility features offered not only at the Hotel, but in each individual room. This

information accessible by Choice.com is identical to the information provided to the

Websites at issue in this action. The Hotel’s website outlining its accessible rooms and

features is attached hereto as Exhibit C.

        As such, because the Hotel is not responsible for the Website’s failure to

appropriately display information provided by the Hotel, Plaintiff’s Complaint fails to


37
   See Dep't of Just., Americans with Disabilities Act Title III Regulations, Nondiscrimination on the Basis
of Disability by Public Accommodations and in Commercial Facilities (2010).
38
   Id.
39
   Id.


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state a claim upon which relief can be granted, Defendant’s Motion to Dismiss should

be granted.

        b. Plaintiff’s Complaint Fails to State a Claim Upon Which Relief Can Be
           Granted Because the Complaint Merely Restates the Statutory Language of
           the ADA.

        Federal Rule of Civil Procedure 8(a)(2) demands more than an unadorned, “the-

defendant-unlawfully-harmed-me accusation.”40 “A pleading that offers ‘labels and

conclusions’ or a ‘formulaic recitation of the elements of a cause of action will not do.’”41

Thus, when a plaintiff’s complaint does nothing more than parrot the statutory language

of the ADA, she has failed to sufficiently state a claim upon which relief can be granted.

        Plaintiff states that she was “deprived of the…goods, services, features, facilities,

benefits, advantages, and accommodations of the Hotel available to the general

public…” because the Websites “failed to comply with the requirements set forth in 28

CFR 36.302(e).42 Plaintiff goes on to further state that the Websites do “not identify or

allow for reservation of accessible guest rooms and did not provide sufficient

information regarding the accessibility at the hotel.”43 These are precisely the kinds of

conclusory allegations and statutory recitations that the Court in Iqbal and Twombly

condemned and ignored when evaluating a complaint for sufficiency. Plaintiff’s

complaint is devoid of further factual enhancement and contains only naked assertions

about how visiting a website for a hotel of which she has no intent to actually visit has

harmed her. As such, because Laufer’s Complaint merely restates the statutory




40
    Ashcroft v. Iqbal, 556 U.S.662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).
41
   Id.
42
   Plaintiff’s Complaint, ¶ 10 (Sept. 30, 2020).
43
   Id.


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language it fails to state a claim upon which relief can be granted. Thus, Defendant’s

Motion should be granted.

     II.      Because Plaintiff Lacks Standing to Assert a Claim Under the ADA,
              Plaintiff’s Complaint Should Be Dismissed.

           To assert standing for injunctive relief, a plaintiff must demonstrate: (1) an injury-

in-fact, (2) a causal connection between the injury and the conduct complained of, (3)

that the injury will be redressed by a favorable decision, and (4) a threat of future injury

which is real and immediate.44

              a. Plaintiff’s Complaint Should Be Dismissed Because Plaintiff Cannot
                 Demonstrate That She Has Suffered an Injury-In-Fact.

           In Rendon v. Valleycrest Productions, Ltd., the Eleventh Circuit examined

whether the telephone selection process used by Valleycrest, a television studio which

ran the gameshow Who Wants to be a Millionaire, was discriminatory against disabled

persons in violation of the ADA.45 In finding that the telephone selection process was a

service offered by Valleycrest which was a place of public accommodation, the Eleventh

Circuit held the telephone selection process was subject to Title III of the ADA. 46

           In Haynes v. Dunkin’ Donuts, the Eleventh Circuit held that the Dunkin’ Donuts

website was a service that “facilitated the use of Dunkin’ Donuts shops, which are

places of public accommodation.”47 Haynes, a blind man, brought suit after attempting

to utilize certain features of the Dunkin’ website which were not compatible with his

screen reading software.48 Because Haynes could not use certain features like the



44
   Lujan at 560; see also Shotz v. Cates, 256 F.3d 1077, 1081 (11th Cir. 2001)(citing Wooden v. Board of
Regents of Univ. Sys., 247 F.3d 1262, 1284 (11th Cir. 2001)).
45
   Rendon v. Valleycrest Prods., Ltd., 294 F.3d 1279 (11th Cir. 2002).
46
   Id. at 1284.
47
   Haynes v. Dunkin' Donuts LLC, 741 Fed. Appx. 752 (11th Cir. 2018)
48
   Id. at 753.


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online store locator and could not buy gift cards online, the Eleventh Circuit held that he

had been denied full and equal access to the services offered by Dunkin’s.49

          Here, the essence of Laufer’s claim is that she was injured simply by viewing the

Websites at issue. This is not sufficient to state a claim under the ADA because to suffer

an injury-in-fact to pursue a claim under Title III of the ADA, Laufer must demonstrate

that she was denied full and equal treatment by the Defendants which she cannot do.

Laufer’s Complaint is devoid of any information about her intent to visit the Hotel and is

devoid of any allegations that she tried and failed to book an accessible room on the

Websites. Laufer does not assert that the Websites impeded her ability to visit the Hotel,

only that the violations “infringed [on] [Laufer’s] right to travel…and deprived her of the

information required to make meaningful choices of travel.”50 Even if Laufer did actually

suffer some harm, the harm stated is not what is protected by Title III of the ADA.

Specifically, the harm protected is the right to full and equal access to the goods and or

services offered by the place of public accommodation. Nothing on the face of Laufer’s

Complaint sufficiently pleads that she has actually been denied full and equal access to

the goods and services offered by the Hotel. Further, Laufer’s self-stated purpose for

visiting the Websites directly contradicts the alleged harm she suffered by being denied

the information needed to make “meaningful decisions” on travel to a place she never

had any intention of visiting. This sort of generic allegation does not demonstrate a

concrete injury and basically alleges that the inaccessibility of the information is the

harm itself. Because Laufer has not suffered an injury-in-fact, Defendants’ Motion

should be granted, and Laufer’s Complaint dismissed.


49
     Haynes v. Dunkin' Donuts LLC, 741 Fed. Appx. 752 (11th Cir. 2018).
50
     Plaintiff’s Complaint, ¶ 12 (Sept. 30, 2020).


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           b. Plaintiff Has Not Established A Real and Immediate Threat of Future Injury
              and Therefore Lacks Standing to Request Injunctive Relief.

       The Eleventh Circuit uses a four-factor test known as the Houston test in

considering the future injury element of standing in Title III cases.51 The Houston factors

are: “(1) the proximity of the defendant’s business to the plaintiff’s residence, (2) the

plaintiff’s past patronage of the defendant’s business, (3) the definiteness of the

plaintiff’s plan to return, and (4) the frequency of the plaintiff’s travel near the

defendant’s business.”52 Although Houston has not been applied to any cases involving

Title III website cases, there is an analogous comparison to be made using the factors.

       Here, Laufer’s stated intent to “return to the [Websites] in order to test it for

compliance” does not constitute a real and immediate threat of future injury.53 First,

Laufer has no meaningful connection to Baxley, Georgia where the Hotel is located, has

never visited Baxley, Georgia, and lives almost three-hundred miles away from Baxley,

Georgia. Second, she alleges that her sole purpose for visiting the Websites was to

verify ADA compliance, demonstrating that at no point either prior to or after the filing of

her Complaint did she intend to actually utilize the goods and services offered by the

Hotel. Third, Laufer’s “intent” to revisit the Websites at a later date is the exact same

type of “some day” allegation that the United States Supreme Court has held as

insufficient to allege a future injury.54 Last, Laufer does not allege that she has any

frequency of travel near the Hotel, such as friends or family who live in the area. As

such, it is clear that Laufer’s allegations are insufficient to demonstrate any treat of real


51
   Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1327 (11th Cir. 2013).
52
   Id.
53
   See Shotz, 256 F.3d at 1081; Wooden, 247 F.3d at 1284 (citing City of Los Angeles v. Lyons, 461 U.S.
95, 102, 103 S.Ct. 1660, 1665, 75 L.Ed.2d 675 (1983)).
54
   Lajun at 564.


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and immediate threat of injury as required for injunctive relief and as such are merely

conjectural and hypothetical. Therefore, because Laufer faces no real and immediate

threat of future harm, Defendant’s Motion should be granted, and Laufer’s Complaint

should be dismissed.

   III.      Plaintiff’s Complaint Should Be Dismissed Because the Websites
             Comply with 28 CFR 36.302.

          Plaintiff’s Complaint alleges that the Websites: (1) do not identify or allow for

reservation of accessible guest rooms, and (2) do not provide sufficient information

regarding the accessibility of the hotel. This argument is meritless because the

Websites meet the requirements of 28 C.F.R. § 36.302(e)(1).

          Each Website has been attached hereto as Exhibits D to demonstrate the

accessibility features available at the Hotel. First, each Website provides photographs of

the room which the individual is booking. These photographs demonstrate the

accessible features in the rooms such as lowered counters in the guest room and

bathrooms as well as accessible showers and toilets. Second, the Websites

appropriately display information on the accessibility features of the Hotel which is

demonstrated in Exhibit D. Third, each of the Websites display numerous photos which

demonstrate the Hotel’s compliance with the ADA. Said photos are attached hereto as

Exhibit E. For example, Photos 1 and 2 demonstrate that the Hotel has handicap

parking close to the entrance of the Hotel, as required by Laufer. Photos 11 and 13

demonstrate the Hotel’s accessible bathrooms, such as grab bars near the commodes

and handicap showers, as required by Laufer.

          Because the Websites are in compliance with § 36.302(e)(1), Defendant’s Motion

should be granted, and Laufer’s Complaint should be dismissed.



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                                     CONCLUSION

      The private enforcement of the Americans with Disabilities Act has transformed

the law into an industry that takes advantage of good-willed small businesses in order to

make money. Laufer’s 519 complaints constitute a weaponization of the ADA for profit

which should not be allowed by this Court. Because Laufer’s Complaint fails to state a

claim upon which relief and be granted, because Laufer has failed to allege an injury-in-

fact, and because Laufer faces no real or immediate threat of future injury, Defendants

respectfully request that this Court grant the Defendant’s Motion to Dismiss.


      Respectfully submitted this 6th day of November, 2020.


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